       Case 3:19-cv-00388 Document 34 Filed on 10/19/20 in TXSD Page 1 of 2
                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                             October 19, 2020
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                          David J. Bradley, Clerk

                           GALVESTON DIVISION

 TOTAL PROPERTY SOLUTIONS,               §
 LLC                                     §
                                         §
         Plaintiff.                      §
                                         §
 VS.                                     § CIVIL ACTION NO. 3:19-CV-00388
                                         §
 ELIZABETH RAMIREZ, ET AL.,              §
                                         §
         Defendants.                     §

                  ORDER ADOPTING MAGISTRATE JUDGE’S
                  MEMORANDUM AND RECOMMENDATION

        On March 3, 2020, all non-dispositive pretrial matters in this case were

referred to United States Magistrate Judge Andrew M. Edison pursuant to 28

U.S.C. § 636(b)(1)(A). Dkt. 12. On July 29, 2020, Judge Edison granted the

plaintiff’s request to file a motion for summary judgment (Dkt. 26), which she then

filed the next day, July 30, 2020. See Dkt. 27. On October 2, 2020, Judge Edison

filed a memorandum and recommendation (Dkt. 33) recommending that the

motion be granted.

        No objections have been filed to the memorandum and recommendation.

Accordingly, the court reviews it for plain error on the face of the record. 28 U.S.C.

§ 636(b)(1); see also, FED. R. CIV. P. 72(b)(3).

        Based on the pleadings, the record, and the applicable law, the court finds

that there is no plain error apparent from the face of the record. Accordingly, the

court orders the following:
Case 3:19-cv-00388 Document 34 Filed on 10/19/20 in TXSD Page 2 of 2




 (1)   Judge Edison’s memorandum and recommendation (Dkt. 33) is
       approved and adopted in its entirety as the holding of the court; and

 (2)   the plaintiff’s motion for summary judgment (Dkt. 27) is granted.

 Signed on Galveston Island this 19th day of October, 2020.




                                ______________________________
                                     JEFFREY VICENT BROWN
                                  UNITED STATES DISTRICT JUDGE




                                  2
